Case 2:21-cv-09324-JWH-JPR Document 21 Filed 02/07/22 Page 1 of 13 Page ID #:80




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  15
                           UNITED STATES DISTRICT COURT
  16
  17                      CENTRAL DISTRICT OF CALIFORNIA

  18   LALTITUDE, LLC, a California Limited Case No. 2:21-cv-9324-JWH-JPR
       Liability Company,
  19                                        DEFENDANT’S NOTICE OF
  20          Plaintiff,                    MOTION AND MOTION TO
                                            DISMISS FOR IMPROPER
  21          v.                            VENUE; MEMORANDUM OF
  22                                        POINTS AND AUTHORITIES IN
       DREAMBUILDER TOY, LLC an Ohio
                                            SUPPORT THEREOF
  23   Limited Liability Company; and DOES
       1-10, inclusive,                     Date: March 18, 2022
  24                                        Time: 9:00 AM
              Defendants.
  25                                        Ctrm: 2
                                            Judge: Hon. John W. Holcomb
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       CASE NO. Case No. 2:21-cv-9324-JWH-           DEFENDANT DREAMBUILDER’S
       JPR                                           NOTICE OF MOTION TO DISMISS
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   1         NOTICE OF MOTION AND MOTION
   2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   3         PLEASE TAKE NOTICE that on March 18, 2022, at 9:00 a.m., or as soon
   4 thereafter as may be heard, in Courtroom 2, George E. Brown, Jr. Federal Building
   5 and United States Courthouse, 3470 12th St., Riverside, CA 92501, before the Hon.
   6 John W. Holcomb, Defendant Dreambuilder Toy, LLC (“Dreambuilder”) will and
   7 hereby does move the Court for an order dismissing Plaintiff Laltitude, LLC’s
   8 (“Plaintiff” or “Laltitude”) Complaint pursuant to Federal Rule of Civil Procedure
   9 12(b)(3) on the grounds that (i) the improper general venue statue has been pled, and
  10 (ii) the proper patent venue statute cannot be satisfied. Specifically:
  11      Plaintiff’s Complaint improperly asserts that venue is proper based on the
  12         general venue statute 28 U.S.C. §§ 1391(b) and (c). The Supreme Court has
  13         made clear that venue for patent cases is controlled by the patent venue statute
  14         28 U.S.C. §1400(b), and not the general venue statute 28 U.S.C. § 1391(b) and
  15         (c). See TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514
  16         (2017).
  17      Plaintiff’s patent infringement claims should be dismissed because, even if pled
  18         properly, venue for these claims is not proper in the Central District of
  19         California.     Under 28 U.S.C. §1400(b), venue is only proper where the
  20         defendant resides or has a regular and established place of business in the
  21         jurisdiction. Dreambuilder is an Ohio limited liability company with all
  22         operations based in Ohio.      Dreambuilder does not have “a regular and
  23         established place of business” in this District because it does not have any
  24         offices, property, lease for any property, or employees in this District.
  25         Accordingly, dismissal is appropriate as no facts support proper venue in this
  26         jurisdiction.
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       CASE NO. Case No. 2:21-cv-9324-       -1-            DEFENDANT DREAMBUILDER’S
       JWH-JPR                                              NOTICE OF MOTION TO DISMISS
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   1      Plaintiff’s unfair competition claim should also be dismissed because this claim
   2        is ancillary to the patent infringement claim, which cannot be heard due to
   3        improper venue. Plaintiff’s only allegation of unfair competition is based on
   4        patent infringement, so the alleged infringement of the patents must be
   5        determined by the Court in order to proceed with Plaintiff’s claim of unfair
   6        competition. Prior courts in this jurisdiction have refused to separate such
   7        claims and also refused to apply the pendant venue doctrine to save such claims
   8        from dismissal. See California Expanded Metal Prod. Co. v. Klein, No. CV
   9        18-242 DDP (MRWx), 2018 WL 2041955, at *2 (C.D. Cal. Apr. 30, 2018).
  10        This motion is made based on this Notice of Motion, the accompanying
  11 Memorandum of Points and Authorities, the declarations of Kai Liu and Tyler
  12 Dunham, Esq. in support of the motion, and exhibits, all records and papers on file in
  13 this action, and any evidence or oral argument offered at any hearing on this motion.
  14        Pursuant to L.R. 7-3, Dreambuilder’s counsel, Tyler Dunham, made extensive
  15 attempts to hold telephonic conferences with Plaintiff’s counsel after the Complaint
  16 was served on January 15, 2022, beginning with a general request to discuss the case
  17 on January 18, 2022, followed by a specific request to discuss an extension of time to
  18 file a response to the Complaint on January 26, 2022, and finally a series of specific
  19 requests to meet and confer and to discuss this motion to dismiss on January 29,
  20 January 30, January 31, and February 2, 2022. All attempts for discussion were
  21 unanswered or denied by Plaintiff’s counsel. See Declaration of Tyler Dunham at ¶¶
  22 2-12. Dreambuilder believes that it has satisfied its obligations to meet and confer
  23 pursuant to L.R. 7-3.
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       CASE NO. Case No. 2:21-cv-9324-      -2-            DEFENDANT DREAMBUILDER’S
       JWH-JPR                                             NOTICE OF MOTION TO DISMISS
Case 2:21-cv-09324-JWH-JPR Document 21 Filed 02/07/22 Page 4 of 13 Page ID #:83




   1 DATED: February 7, 2022             Respectfully submitted,
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       CASE NO. Case No. 2:21-cv-9324-   -3-          DEFENDANT DREAMBUILDER’S
       JWH-JPR                                        NOTICE OF MOTION TO DISMISS
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         CASE NO. Case No. 2:21-cv-9324-                      -ii-                 DEFENDANT DREAMBUILDER’S
         JWH-JPR                                                                           MOTION TO DISMISS
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   1           MEMORANDUM OF POINTS AND AUTHORITIES
   2           Pursuant to Federal Rule of Civil Procedure 12(b)(3), Defendant Dreambuilder
   3 Toy, LLC (“Dreambuilder”) respectfully moves to dismiss the Complaint filed by
   4 Plaintiff Laltitude LLC (“Laltitude” or “Plaintiff”) for improper venue.
   5 I.        INTRODUCTION
   6           Laltitude brings this action for alleged patent infringement. The Patent Venue
   7 Statute provides that venue of a patent infringement action is only proper in a judicial
   8 district: (1) “where the defendant resides,” or (2) “where the defendant has committed
   9 acts of infringement and has a regular and established place of business.” 28 U.S.C.
  10 § 1400(b).      Furthermore, the Supreme Court has made clear that in a patent
  11 infringement case, the specific requirements of the patent venue statute, 28 U.S.C.
  12 § 1400(b), govern, not the general venue statue, 28 U.S.C. § 1391(c). TC Heartland
  13 LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514, 1520-1521 (2017).
  14           Dismissal of the Complaint is mandated here because Laltitude does not—and
  15 cannot—allege that venue is proper in this District over Dreambuilder under either
  16 prong of the patent venue statute. 1 First, Dreambuilder does not “reside” in this
  17 District because it is headquartered and is a limited liability company registered in
  18 Ohio. Second, Dreambuilder does not have “a regular and established place of
  19 business” in this District because it does have any offices, property, lease for any
  20 property, or employees in this District. Accordingly, the Complaint contains no bases
  21 to maintain this action in this District against Dreambuilder. Instead, the Complaint
  22 only asserts that venue is proper over Dreambuilder based on 28 U.S.C. § 1391(b) and
  23 (c) for alleged “substantial injury” in this District. This is the wrong venue statute.
  24           For these reasons, the Court should dismiss Laltitude’s Complaint against
  25
       1
  26   While this Motion primarily focuses on the lack of proper venue, Dreambuilder is
     not abandoning its arguments regarding the numerous other deficiencies (such as
  27 personal jurisdiction and failure to state a claim). Laltitude also asserts an ancillary
     state law unfair competition claim based on alleged patent infringement, but this claim
  28 should also be dismissed for reasons discussed below.
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           JWH-JPR                                                       MOTION TO DISMISS
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   1 Dreambuilder for improper venue.
   2 II.     PROCEDURAL BACKGROUND
   3         A.     Laltitude’s Complaint
   4         On December 1, 2021, Laltitude filed this action for alleged infringement of
   5 U.S. Patent Nos. D784,938 and D789,312 for the sale of magnetic toys by
   6 Dreambuilder. See, e.g., Complaint at ¶¶ 1, 12-32 (Dkt. No. 1). Laltitude also alleges
   7 an unfair competition claim based on alleged patent infringement. See id. at ¶¶ 33-
   8 38. With respect to venue, Laltitude’s only allegation is as follows:
   9
  10              Venue is proper in the Central District of California under 28
                  U.S.C. § 1391(b) and (c) in that a substantial injury occurred and
  11              continues to occur in this District, a substantial part of the subject
  12              property is located here, Defendants’ conduct has been directed
                  into this District, and a substantial portion of the events that are
  13              the subject of this action took place in this District.
  14 Id. at 11.
  15         The Complaint was served on January 15, 2022. Dkt. No. 16. Dreambuilder
  16 has made no response to the Complaint before this motion.
  17         B.     Dreambuilder’s Business Operations
  18         Dreambuilder is an Ohio limited liability company and does not maintain a
  19 place of business anywhere in California. See Declaration of Kai Liu (“Liu Decl.”)
  20 at ¶¶ 2-5. All of Dreambuilder’s operations are based in Ohio. Liu Decl. at ¶¶ 2-3.
  21 Dreambuilder does not have any offices, property, lease for any property, or
  22 employees in the Central District of California. Liu Decl. at ¶ 5.
  23 III.    LEGAL STANDARD
  24         Federal Rule of Civil Procedure 12(b)(3) provides for dismissal of an action for
  25 “improper venue.” Fed. R. Civ. P. 12(b)(3). In considering such a motion, “[the]
  26 pleadings need not be accepted as true, and facts outside the pleadings may be
  27 considered.” Doe 1 v. AOL LLC, 552 F.3d 1077, 1081 (9th Cir. 2009). Once venue
  28 is challenged, a plaintiff bears the burden of showing that venue is proper. Piedmont
       CASE NO. Case No. 2:21-cv-9324-          -2-             DEFENDANT DREAMBUILDER’S
       JWH-JPR                                                          MOTION TO DISMISS
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   1 Label Co. v. Sun Garden Packing Co., 598 F.2d 491, 496 (9th Cir. 1979). If venue is
   2 improper, the court “shall dismiss” the case. 28 U.S.C. § 1406(a); King v. Russell,
   3 963 F.2d 1301, 1304-05 (9th Cir. 1992). The decision to dismiss for improper venue
   4 is a matter within the sound discretion of the district court. See King at 1304.
   5         Venue for a claim of patent infringement is governed by the patent venue
   6 statute, which provides that “[a]ny civil action for patent infringement may be brought
   7 in the judicial district where the defendant resides, or where the defendant has
   8 committed acts of infringement and has a regular and established place of business.”
   9 28 U.S.C. § 1400(b). Thus, patent infringement cases are only permitted in a
  10 jurisdiction where (1) the defendant resides; or (2) where the defendant has committed
  11 acts of infringement and has a “regular and established place of business.” Id.
  12         The Supreme Court has made clear that in a patent infringement case, the
  13 specific requirements of the patent venue statute, 28 U.S.C. § 1400(b), govern, not the
  14 general venue statue, 28 U.S.C. § 1391(c). See TC Heartland LLC, 137 S.Ct. at 1520-
  15 1521. The Court also held that, when determining proper venue under 28 U.S.C.
  16 § 1400(b), a domestic corporation “resides” only in its state of incorporation. Id.
  17 Further, having a “regular and established place of business” requires that: (1) there
  18 is a physical place in the district; (2) it is a regular and established place of business;
  19 and (3) it is the place of the defendant. In re Cray Inc., 871 F.3d 1355, 1360 (Fed.
  20 Cir. 2017).
  21 IV.     ARGUMENT
  22         A.     Plaintiff’s Complaint Pleads the Wrong Venue Statute
  23         Plaintiff alleges infringement of U.S. Patent Nos. D784,938 and D789,312.
  24 See, e.g., Complaint at ¶¶ 1, 12-32 (Dkt. No. 1). In a patent infringement case, the
  25 patent venue statute, 28 U.S.C. § 1400(b), applies, and not the general venue statute.
  26 See TC Heartland LLC, 137 S.Ct. at 1520-1521. However, Plaintiff’s Complaint
  27 improperly pleads just the general venue statute U.S.C. §§ 1391(b) and (c). See
  28 Complaint at ¶ 11. This alone warrants dismissal.
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   1         B.     Venue in this District Is Improper Based on the Patent Venue
   2                Statute
   3         Plaintiff’s Complaint fails to plead the correct venue statute because it cannot.
   4 Dreambuilder does not satisfy the requirements of the patent venue statute, 28 U.S.C.
   5 § 1400(b), because (1) it does not reside in this District; and (2) it does not have a
   6 “regular and established place of business” in this District.
   7                1.    Dreambuilder Does Not Reside in this District Because It is a
   8                      Limited Liability Company Registered in Ohio
   9         Venue is not proper as to Dreambuilder under the first prong of the Patent
  10 Venue Statute—“the judicial district where the defendant resides.” 28 U.S.C.
  11 § 1400(b). “[A] domestic corporation ‘resides’ only in its State of incorporation for
  12 purposes of the patent venue statute.” TC Heartland, 137 S. Ct. at 1521.
  13         Here, Plaintiff’s Complaint does not assert that Dreambuilder resides in this
  14 District. In fact, Plaintiff concedes that Dreambuilder is an Ohio limited liability
  15 company. See Complaint, Dkt. 1, at ¶ 5; see also Liu Decl. at ¶ 3. Accordingly, under
  16 TC Heartland, Dreambuilder does not reside in this District. Thus, venue is not proper
  17 in this District under the first prong of the patent venue statute.
  18                2.    Dreambuilder Does Not Have a “Regular and Established
  19                      Place of Business” in this District
  20         Venue is also not proper as to Dreambuilder under the second prong of the
  21 patent venue statute—“the judicial district … where the defendant has committed acts
  22 of infringement and has a regular and established place of business.” 28 U.S.C. §
  23 1400(b) (emphasis added). With respect to whether a defendant has a “regular and
  24 established place of business in a judicial district,” there are “three general
  25 requirements relevant to the inquiry: (1) there must be a physical place in the district;
  26 (2) it must be a regular and established place of business; and (3) it must be the place
  27 of the defendant. If any statutory requirement is not satisfied, venue is improper under
  28 §1400(b).” In re Cray Inc., 871 F.3d at 1360.
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       JWH-JPR                                                        MOTION TO DISMISS
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   1         Here, Plaintiff does not allege that Dreambuilder has offices, any property,
   2 lease for any property, or employees in the Central District of California. Plaintiff
   3 cannot do so because none exist. See Liu Decl., ¶ 5. Indeed, Plaintiff alleges that
   4 Dreambuilder’s principle place of business is in Dublin, Ohio. Complaint at ¶ 5; see
   5 also Liu Decl., ¶ 3.
   6         Instead, Plaintiff’s only assertion as to any activity in California is based on the
   7 following allegation: “In particular, on multiple occasions, Defendants have sold
   8 products to customers within the State of California on Amazon’s online platform
   9 (www.amazon.com).” Complaint at ¶ 9. But under In re Cray, 871 F.3d at 1360 this
  10 is insufficient to establish that Dreambuilder has a “regular and established place of
  11 business in a judicial district,” and regardless, any place of business “must be the place
  12 of the defendant.” See, e.g., Inhale, Inc. v. Gravitron, LLC, No. CV 18-3883 PSG
  13 (KSX), 2018 WL 5880192, at *4 (C.D. Cal. Sept. 5, 2018) (finding defendant’s
  14 website listing locations where defendant’s products can be purchased “is not
  15 sufficient to demonstrate a regular and established place of business” where the
  16 defendant “does not own, lease, or exercise control over any real estate in
  17 California.”); Fox Factory, Inc. v. SRAM, LLC, No. 3:16-cv-00506-WHO, 2018 WL
  18 317839, at *3-4 (N.D. Cal. Jan. 8, 2018) (finding independent dealers in a district do
  19 not qualify as a “regular and established place of business”); Reflection, LLC v. Spire
  20 Collective LLC, No. 17CV1603-GPC (BGS), 2018 WL 310184, at *2-3 (S.D. Cal.
  21 Jan. 5, 2018) (storing products in an independent distributor’s warehouse and selling
  22 products in the state through a third party are not sufficient to show venue under §
  23 1400(b)).
  24         Thus, venue as to Dreambuilder is not proper in this District under the second
  25 prong of the patent venue statute.
  26         C.     Plaintiff’s Unfair Competition Claim Should be Dismissed for Lack
  27                of Venue
  28         Plaintiff’s claim for unfair competition also lacks proper venue in the Central
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       JWH-JPR                                                         MOTION TO DISMISS
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   1 District of California. This claim is improper because it is ancillary to, and cannot be
   2 resolved without, a determination of the patent question—for which venue is lacking
   3 as discussed above. See California Expanded Metal Prod. Co. v. Klein, No. CV 18-
   4 242 DDP (MRWx), 2018 WL 2041955, at *2 (C.D. Cal. Apr. 30, 2018) (finding venue
   5 improper under 28 U.S.C. §1400(b) where the contract claims were “ancillary” to the
   6 patent claims).
   7         The same court also refused to apply the pendent venue doctrine to allow
   8 consideration of contract claims when venue was clearly improper for the patent
   9 claims:
  10             As discussed above, the breach of contract claims cannot be
                 resolved without first resolving the patent infringement claims.
  11             Thus, even if pendent jurisdiction is applicable in the patent
  12             context, the circumstances here do not warrant the invocation of
                 the doctrine.
  13
  14 California Expanded Metal Prods. Co., 2018 WL 2041955 at *2-3.
  15         Plaintiff’s Complaint alleges that Dreambuilder committed unfair competition
  16 by selling products which infringe Plaintiff’s patents. See, e.g., Complaint at ¶¶ 33-
  17 38. Plaintiff does not allege any other acts by Dreambuilder that would consititute
  18 unfair competition or provide an independent basis for jurisdiction. The only factual
  19 consideration for the Court regarding this claim would be whether the patents are
  20 infringed, a determination which venue in this District is improper.
  21         Because Plaintiff’s claim of unfair competition requires a determination of
  22 patent infringement, which makes the claim of unfair competition inextricably tied to
  23 the patent claim, the Court should likewise dismiss this claim based on improper
  24 venue.
  25 V.      CONCLUSION
  26         For the foregoing reasons Dreambuilder respectfully requests the Court dismiss
  27 all claims in the pending Complaint pursuant to Federal Rule of Civil Procedure
  28 12(b)(3) on the grounds that venue is improper.
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       JWH-JPR                                                      MOTION TO DISMISS
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       CASE NO. Case No. 2:21-cv-9324-   -7-           DEFENDANT DREAMBUILDER’S
       JWH-JPR                                                 MOTION TO DISMISS
